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                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLORADO
                               Bankruptcy Judge Elizabeth E. Brown

 In re:
                                                            Bankruptcy Case No. 16-17099 EEB
 MARIE SOLANO,                                              Chapter 7


 Debtor.


 EMILIA BARR AND MELANIE BARR,
 as next friend for MOIRA BARR, heirs
 and interested persons,

 Plaintiffs,                                                Adv. Proceeding No. 16-1447 EEB

 v.

 MARIE SOLANO,

 Defendant.


                                                   ORDER

        THIS MATTER comes before the Court following a trial on the Plaintiffs’
 Complaint seeking to deny Debtor Marie Solano’s discharge under 11 U.S.C. § 727 and
 alleging nondischargeability claims under 11 U.S.C. § 523(a)(2), (a)(4) and (a)(6).1
 Debtor was the girlfriend of Jeffrey Barr. Mr Barr is now deceased. Plaintiffs Emilia and
 Moria Barr are the daughters and heirs of Mr. Barr; and Melanie Barr is their mother and
 Mr. Barr’s ex-wife.

         Mr. Barr died on January 6, 2014. At the time of his death, he lived with Debtor
 in an apartment, but they never married. Emilia Barr was nineteen at the time and did
 not live with her father. Moira Barr was thirteen at the time and spent weekends with
 her father and had her own bedroom in his apartment. After his death, the relationship
 between the Debtor and Plaintiffs deteriorated rapidly. Plaintiffs asked Debtor to turn
 over all of Mr. Barr’s personal property, including two vehicles that were titled in his
 name at the time he died. The Debtor gave Plaintiffs a few of his items, but refused to
 turn over the bulk of his property. Four days after his death, Debtor filed paperwork with

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  All references to “section” or “§” shall refer to Title 11, United States Code, unless expressly stated
 otherwise.
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 the Department of Motor Vehicles to transfer ownership to herself of two of Mr. Barr’s
 vehicles, a 1991 Chevrolet and a 1989 Chevrolet. Neither of these vehicles nor Mr.
 Barr’s personal property had great monetary value, but Plaintiffs wanted them due to
 their sentimental value. Both sides filed police reports alleging misconduct by the other
 side.

         Approximately one month after Mr. Barr’s death, his ex-wife initiated a probate
 action for the benefit of her daughters. Given the acrimony between the parties, the
 Plaintiffs sought appointment of a neutral “personal representative” to handle
 administration of the probate estate, which the probate court granted. Eventually, the
 personal representative filed a motion seeking return of Mr. Barr’s property from the
 Debtor. Before the probate court could rule on that motion, the Debtor filed a motion
 alleging she was Mr. Barr’s common law wife and she requested removal of the
 personal representative. The turnover matter was shelved while the probate court held
 a trial on the common law marriage issue. After a trial in February 2016, the probate
 court dismissed Debtor’s common law wife claim. The Plaintiffs filed a post-trial motion
 asking the state court to award them their attorney’s fees and costs under Colo. Rev.
 Stat. § 13-17-102, which permits such awards where the court determines a party’s
 action lacked substantial justification.

         Although it was not offered as an exhibit at trial, the Plaintiffs have indicated that
 the state court issued an order on April 4, 2016 (the “April 4 Order”) that determined that
 Debtor’s claim lacked substantial justification, and as such, that Plaintiffs were entitled
 to recover their fees and costs. The April 4 Order did not award Plaintiffs a specific
 amount, but instructed the Plaintiffs to file affidavits to establish the amount of their fees
 and costs. On May 18, 2016, the state court apparently entered another order that
 awarded the Plaintiffs $55,403.45 for their attorney’s fees and costs (“May 18 Order”).
 Again, the Plaintiffs failed to offer this order as an exhibit at trial but nevertheless ask
 the Court to take judicial notice of it and the April 4 Order.

        The Debtor filed her chapter 7 bankruptcy petition approximately three months
 later on July 19, 2016. Debtor did not immediately notify the Plaintiffs or the probate
 court about the bankruptcy filing. Lacking knowledge of the automatic stay, the probate
 court entered a judgment against Debtor on September 9, 2016 for the previously
 awarded fees and costs in the amount of $55,403.45 (the “September Judgement”).
 The Plaintiffs also failed to offer this judgment into evidence at trial. The probate court
 then entered a postpetition order on September 14, 2016, requiring Debtor to turn over
 Mr. Barr’s property to the personal representative. The personal representative testified
 that Debtor has never turned over any property.

        In this adversary proceeding, the Plaintiffs assert two claims under § 727 seeking
 denial of the Debtor’s discharge. In addition, The Plaintiffs allege that two debts the
 Debtor owes to Plaintiffs should be declared nondischargeable—(1) the $55,403
 judgment for attorney’s fees and costs awarded by the probate court; and (2) the value
 of Mr. Barr’s personal property that the Debtor has allegedly unlawfully retained.



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 I. DENIAL OF DISCHARGE CLAIMS

        A.     § 727(a)(5)

         The Plaintiffs have brought two claims seeking to deny the Debtor a discharge.
 The first claim is pursuant to § 727(a)(5), which states that a debtor will be denied a
 discharge when “the debtor has failed to explain satisfactorily . . . any loss of assets or
 deficiency of assets to meet the debtor’s liabilities.” 11 U.S.C. § 727(a)(5). Plaintiffs
 bear the burden of proof to establish the following elements for this claim: (1) debtor at
 one time, not too remote from the bankruptcy petition date, owned identifiable assets;
 (2) on the date the bankruptcy petition was filed or order of relief granted, the debtor no
 longer owned the assets; and (3) the bankruptcy pleadings or statement of affairs do not
 reflect an adequate explanation for the disposition of the assets. Retz v. Samson (In re
 Retz), 606 F.3d 1189, 1205 (9th Cir. 2010). “It is insufficient to merely allege that the
 debtor has failed to explain losses, the plaintiff must produce some evidence of an
 identifiable asset loss.” Sonders v. Mezvinsky (In re Mezvinsky), 265 B.R. 681, 689
 (Bankr. E.D. Pa. 2001).

         In this case, Plaintiffs have not alleged nor proven that the Debtor owned an
 asset prepetition that she no longer owned on the petition date. Rather, they are
 alleging she has failed to explain the loss of assets that belonged to Mr. Barr. This is
 not a sufficient basis to deny the Debtor her discharge. In other circumstances, courts
 have refused to deny a discharge where the debtor did not own or have knowledge of
 the assets in question. E.g., Buckeye Retirement Co. v. Bishop (In re Bishop), 420 B.R.
 841, 857 (Bankr. N.D. Ala. 2009) (declining to deny discharge were lost assets in
 question belonged to debtor’s company, not debtor individually). The purpose of §
 727(a)(5) is to “deny a discharge to a debtor who refuses to cooperate with the trustee
 or creditors in their effort to trace property that should have been part of the
 [bankruptcy] estate.” Holley Performance Prod. v. Coppaken (In re Coppaken), 572
 B.R. 284, 325 (Bankr. D. Kan. 2017). None of the assets identified in the Plaintiffs’
 § 727(a)(5) claim were owned by her and, thus, would not have become property of her
 estate and would not have been available to pay Debtor’s debts. Thus, her alleged
 failure to explain the disappearance of Mr. Barr’s assets is not a basis for denial of
 discharge under § 727(a)(5).

        B.     § 727(a)(4)(A)

         Next, the Plaintiffs allege a claim under § 727(a)(4)(A), which provides that
 discharge may be denied if the debtor “knowingly and fraudulently, in or in connection
 with the case—made a false oath or account.” False oaths include a debtor’s failure to
 include assets on her bankruptcy schedules. However, the omissions must be
 “material” to be grounds for denial of discharge. Fogal Legware of Switzerland, Inc. v.
 Wills (In re Wills), 243 B.R. 58, 63 (9th Cir. BAP 1999). Omissions or misstatements
 relating to assets having little or no value may be considered immaterial and thus not a
 basis for denying discharge under § 727(a)(4). Id. Likewise, courts have held that
 omissions or misstatements concerning property that would not be property of the
 estate do not meet the materiality requirement of § 727(a)(4)(A). E.g., Lee Supply Corp.

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 v. Agnew (In re Agnew), 818 F.2d 1284, 1290 (7th Cir. 1987) (concluding debtor’s
 failure to schedule exempt interest in real property that he had previously transferred to
 his wife was not a basis for denying discharge). However, an omission or misstatement
 relating to an asset that is of little value or that would not be property of the estate might
 be considered material if the omission or misstatement detrimentally affects
 administration of the estate. In re Wills, 243 B.R. at 63.

         In this case, Plaintiffs allege that Debtor failed to indicate in her Statement of
 Financial Affairs that she was holding property that belonged to another—namely Mr.
 Barr. Plaintiffs also argue that Debtor erroneously listed the 1991 Chevy that belonged
 to Mr. Barr as her own, listed the sale of a Subaru did not belong to her, failed to list her
 former residence with Mr. Barr on her SOFA, and inaccurately listed the debt she owed
 to the personal representative in the probate case. To the extent these allegations
 concern Mr. Barr’s assets, they are not assets of the estate and have little monetary
 value and therefore are not material. The other inaccuracies are minor. Although the
 omissions and misstatements may have been important to Plaintiffs and possibly to the
 probate case, they did not adversely affect the administration of the Debtor’s bankruptcy
 estate, which is what § 727(a)(4) is concerned with. Accordingly, the Court finds that
 Plaintiffs have failed to prove their § 727(a)(4)(A) claim.

 II. DISCHARGEABILITY OF THE $55,403 JUDGMENT

        A.     Collateral Estoppel Effect of the State Court Judgment

        The Plaintiffs seek to have the $55,403 judgment awarded by the state court
 declared nondischargeable pursuant to § 523(a)(2), (a)(4), or (a)(6). A necessary
 predicate to all three claims is establishing the existence of that debt and the state
 court’s reasoning for the award. The state court apparently issued two orders and a
 judgment concerning this debt—the April 4 Order, which gave the state court’s
 reasoning but no dollar amount; the May 18 Order, which set the dollar amount at
 $55,403; and the September Judgment in the amount of $55,403.

        Prior to trial, Plaintiffs argued in a Motion in Limine that the April 4 Order should
 be given limited collateral estoppel effect in this proceeding to establish that the
 Debtor’s common law wife claim was substantially groundless. The Debtor did not
 object and the Court granted this request. At the time of this pre-trial ruling, however,
 the Court was unaware that the Motion in Limine omitted two key facts—the existence
 of the May 18 Order and the September Judgment. These facts are important in
 determining whether to apply collateral estoppel.

        Under Colorado law, the required elements of collateral estoppel are: (1) the
 issue to be precluded is identical to an issue actually litigated and necessarily
 adjudicated in the prior proceeding; (2) the party against whom estoppel is sought was a
 party to or was in privity with a party in the prior proceeding; (3) there was a final
 judgment on the merits in the prior proceeding; and (4) the party against whom the
 doctrine is asserted had a full and fair opportunity to litigate the issues in the prior
 proceeding. Michaelson v. Michaelson, 884 P.2d 695, 700-01 (Colo.1994). The only

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 questionable element in this case is number three—finality. To be considered final, an
 order must be “‘sufficiently firm’ in the sense that it was not tentative, the parties had an
 opportunity to be heard, and there was an opportunity for review.” Carpenter v. Young,
 773 P.2d 561, 568 (Colo. 1989). Finality for purposes of collateral estoppel is not the
 same as finality for purposes of appeal. Id. (noting that collateral estoppel “is not
 concerned with whether a claim is properly postured for appeal.”). However, a pending
 appeal or the right to file a further appeal will typically render a state court order non-
 final for collateral estoppel purposes under Colorado law. Rantz v. Kaufman, 109 P.3d
 132, 141 (Colo. 2005) (holding that judgment on appeal is not final for collateral
 estoppel purposes); Barnett v. Elite Prop. of Am., Inc., 252 P.3d 14, 22-23 (Colo. App.
 2010) (holding that pending petition for certiorari rendered judgment non-final for
 collateral estoppel purposes).

         Plaintiffs argued in their Motion in Limine that the April 4 Order was final for
 purposes of appeal because it “disposes of and is conclusive of the controverted claim
 for which that part of the proceeding was brought,” and because the Debtor did not file
 an appeal within forty-nine days of entry of the April 4 Order as required by Colo. R.
 App. P. 4(a). Plaintiffs’ Motion in Limine, ¶ 8 (citing In re Estate of Scott, 119 P.3d 511,
 514 (Colo. App. 2004)). There are several problems with this argument. The finality
 standard quoted by Plaintiffs is incorrect. The In re Estate of Scott case, on which
 Plaintiffs rely, specifically holds that the above-quoted finality standard does not apply in
 Colorado. In re Estate of Scott, 119 P.3d at 514 (holding that application of the quoted
 standard, which originates in Texas, “creates policy and procedure that is contrary to
 the applicable statute and rules and, as a result, sets a trap for litigants and trial
 courts.”). Instead, in Colorado, for an order awarding attorney’s fees under Colo. Rev.
 Stat. § 13-17-102 to be considered final for appeal purposes, it must at least determine
 the amount of fees awarded. Axtell v. Park School Dist. R-3, 962 P.2d 319, 322 (Colo.
 App. 1998). The April 4 Order did not make that determination and, thus, was not final
 when entered, as represented by Plaintiffs in the Motion in Limine.

         That leaves the May 18 Order and the September Judgment, both of which
 recited the amount of attorney’s fees awarded. Typically, entry of a final judgment is
 what triggers the appellate period. See Colo. R. Civ. P. 58 (requiring state courts to
 promptly enter a final judgment); Colo. R. App. P. 4(a) (providing that appeal must be
 filed “within 49 days of the date of the entry of the judgment, decree, or order from
 which the party appeals.”). In this case, there was a significant delay between entry of
 the May 18 Order and the September Judgment. The Plaintiffs indicate that they filed a
 motion for entry of the September Judgment so that they could pursue post-judgment
 collection remedies when it became clear that the Debtor would not pay. At that time,
 both the Plaintiffs and the state court were unaware of the Debtor’s bankruptcy filing,
 and the state court entered the September Judgment two months after the Debtor had
 filed her bankruptcy petition. Because entry of the September Judgment violates the
 automatic stay, it is void and without effect. Calder v. Job (In re Calder), 907 F.2d 953,
 956 (10th Cir. 1990). Absent entry of a final judgment, the Debtor could conceivably
 appeal the attorney fee award because the Bankruptcy Code generally stays filing
 deadlines that have not expired prior to the petition date. See 11 U.S.C. § 108(a).


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         The Plaintiffs dispute this contention, arguing that the May 18 Order is final
 despite the invalidity of the September Judgment. Under the Federal Rules of Civil
 Procedure, courts must enter both an order and a separate judgment in most instances.
 Fed. R. Civ. P. 58(a) (“Every judgment . . . must be set out in a separate document.”).
 There is no such requirement in the Colorado Rules of Civil Procedure. Instead, the
 corresponding state rule requires state courts to “promptly prepare, date, and sign a
 written judgment.” Colo. R. Civ. P. 58(a). The term “judgment” is defined to include “an
 appealable decree or order as set forth in C.R.C.P. 54(a).” Id. Colorado Rule 54(a), in
 turn, defines “judgment” broadly to include any “decree and order to or from which an
 appeal lies.” Colo. R. Civ. P. 58(a). Colorado courts have construed this definition
 broadly. “When determining if an order is final for purposes of appeal, the legal effect of
 the order, and not merely the form, should be considered.” People v. Proffitt, 865 P.2d
 929, 931 (Colo. App. 1993). “A final judgment is one which ends the particular action in
 which it is entered, leaving nothing further for the court pronouncing it to do in order to
 completely determine the rights of the parties involved in the proceeding.” Moore & Co.
 v. Williams, 672 P.2d 999, 1002 (Colo. 1983). Thus, something as simple as a minute
 order can serve as a “final judgment” under the Colorado Rules if it finally determines
 the parties’ rights. Id.

         In this case, the May 18 Order appears to have completely determined the rights
 of the parties with respect to the attorney fee award under Colo. Rev. Stat. § 13-17-102.
 It effectively put an end to that legal issue. While the April 4 Order was not final
 because the state court still needed to determine the amount of the fees awarded, the
 May 18 Order accomplished this task. See Axtell v. Park School Dist. R-3, 962 P.2d
 319, 322 (Colo. App. 1998). Although the September Judgment may have helped the
 Plaintiffs in pursuing post-judgment collection remedies, its entry was not necessary
 under the Colorado Rules to start the applicable appellate filing deadline. This means
 Debtor would have had to file an appeal of the May 18 Order on or before July 6, 2018.
 Debtor did not do so and the appellate period expired prior to her bankruptcy filing.
 Thus, the Court concludes that the state court’s award of $55,403 in attorney’s fees
 under Colo. Rev. Stat. § 13-7-102 was final for collateral estoppel purposes.

        B.     Judicial Notice

         This does not fully resolve issues relating to the Plaintiffs’ $55,403 state court
 judgment. At trial, Plaintiffs failed to offer the April 4 Order, the May 18 Order, and the
 September Judgment as exhibits at trial and, as such, the Court did not admit them into
 evidence. Typically, a court may only consider admitted evidence in making its findings
 and conclusions. See Tal v. Harth (In re Harth), 2014 WL 4294942, at *8 (10th Cir. BAP
 Sept. 2, 2014). The fact that Plaintiffs attached the April 4 Order to their Complaint and
 their Motion in Limine does not change this conclusion. Id. Despite this omission, the
 Plaintiffs argue this Court may take judicial notice of the April 4 Order and the May 18
 Order and, therefore, consider the contents of those orders in ruling on their § 523(a)
 claims.

        Courts can, in some circumstances, take judicial notice of court documents that
 are a matter of public record. See Fed. R. Evid. 201. The Tenth Circuit has instructed

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 that courts “may take judicial notice of the existence of the opinions of other courts but
 not the truth of the facts recited therein.” Gilchrist v. Citty, 71 Fed. App’x. 1, 3 (10th Cir.
 2003) (internal quotations and citations omitted). However, the Tenth Circuit has also
 noted that the scope and reach of judicial notice has been enlarged over the years to
 include “those matters that are verifiable with certainty.” St. Louis Baptist Temple, Inc.
 v. Fed. Deposit Ins. Corp., 605 F.2d 1169, 1172 (10th Cir. 1979). Thus, a federal court
 “in appropriate circumstances, may take notice of proceedings in other courts, both
 within and without the federal judicial system, if those proceedings have a direct relation
 to matters at issue.” Id. This includes use of judicial notice when applying collateral
 estoppel to another court’s order. Id.; see also Rose v. Utah State Bar, 471 Fed. App’x
 818, 820 (10th Cir. 2012) (holding trial court appropriately took judicial notice of prior
 state court proceedings in ruling on summary judgment motion on collateral estoppel
 grounds).

        In this case, the Plaintiffs ask this Court to take judicial notice of the April 4 and
 May 18 Orders in order to give the amount and legal basis for those Orders limited
 collateral estoppel effect in this case. The Court has determined that collateral estoppel
 is appropriate on that limited basis. The prior state court proceeding involved the same
 parties, and the state court’s ruling is the basis for the Plaintiffs’ § 523(a) claim related
 to the attorney fee award. The Debtor did not dispute the validity of the $55,403
 judgment, nor the fact that the state court determined that her common law wife claim
 was substantially groundless. Accordingly, in these limited circumstances, the Court will
 take judicial notice of the April 4 and May 18 Orders.

        C.     Nondischargeability of the $55,403

         Plaintiffs argue the $55,403 judgment is nondischargeable under § 523(a)(2),
 (a)(4) and (a)(6). The Court concludes that the only subsection potentially applicable to
 this debt is § 523(a)(6).

         Section 523(a)(2) does not apply because the Debtor did not obtain the $55,403
 from the Plaintiffs through fraud. Section 523(a)(2) excepts from discharge a debt for
 “money, property, services or an extension, renewal or refinancing of credit to the extent
 obtained by,” false pretenses, a false representation, or actual fraud. 11 U.S.C.
 § 523(a)(2)(A) (emphasis supplied). The Supreme Court has emphasized that the
 phrase “to the extent obtained by” modifies “money, property or services.” This means
 there is a requirement that “specific money or property has been obtained by fraud.”
 Cohen v. de la Cruz, 523 U.S. 213, 218-19 (1998). Once that predicate is established,
 then any debt arising from the fraud is nondischargeable. Id. In this case, while the
 Debtor incurred a debt for $55,403, that debt did not arise by her obtaining money,
 property or services from the Plaintiffs. The Plaintiffs may have advanced those funds
 to their attorney during the state court proceedings, but those advances were in no way
 “obtained by” the Debtor through fraud. Rather, Debtor’s obligation arose because the
 state court imposed a sanction on the Debtor for asserting a substantially groundless
 claim. The fact that the Plaintiffs are beneficiaries of the state court’s sanction award is
 not sufficient to meet the “obtained by” requirement of § 523(a)(2)(A). Oasis, Inc. v.
 Fiorillo (In re Fiorillo), 520 B.R. 355, 359-60 (Bankr. D. Mass. 2014) (holding that

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 § 523(a)(2)(A) did not apply to the debtor’s obligation to pay plaintiff attorney’s fees
 awarded as a sanction by a state court); Golant v. Care Comm, Inc., 216 B.R. 248, 254-
 55 (N.D. Ill. 1997) (affirming dismissal of similar § 523(a)(2)(A) claim); Haeske v.
 Arlington (In re Arlington), 192 B.R. 494, 499-500 (Bankr. N.D. Ill. 1996) (dismissing
 similar § 523(a)(2)(A) claim). Nor is § 523(a)(4) applicable because Plaintiffs have not
 alleged that the Debtor obtained the $55,403 debt through embezzlement or larceny, or
 that she acted in a fiduciary capacity.

         This leaves the § 523(a)(6) claim. This subsection makes nondischargeable
 debts “for willful and malicious injury by the debtor to another entity or to the property of
 another entity.” 11 U.S.C. § 523(a)(6). To establish nondischargeability under this
 section, a creditor must establish both a willful act and a malicious injury. Panalis v.
 Moore (In re Moore), 357 F.3d 1125, 1129 (10th Cir. 2004). Willfulness “takes a
 deliberate or intentional injury, not merely a deliberate or intentional act that leads to
 injury.” Kawaauhau v. Geiger, 523 U.S. 57, 61 (1998). The debtor must “intend ‘the
 consequences of an act,’ not simply ‘the act itself.’” Id. at 61-62. Courts have
 recognized two ways of establishing willful conduct. The debtor must either “desire to
 cause the consequences of his act or believe that the consequences are substantially
 certain to result from it.” In re Moore, 357 F.3d at 1129 (internal quotation omitted).
 The latter “substantial certainty” test is not an objective test. Via Christi Reg. Med.
 Center v. Englehart (In re Englehart), 2000 WL 1275614, at *3 (10th Cir. Sept. 8, 2000).
 Rather, willfulness under both standards is a wholly subjective test dependent on the
 state of mind of the debtor. Id.

         A malicious injury under § 523(a)(6) has been defined in different ways. The
 Tenth Circuit has defined it in a manner that is similar to the definition of willful: “the
 term ‘malicious’ requires proof ‘that the debtor either intend the resulting injury or
 intentionally take action that is substantially certain to cause the injury.’” In re Moore,
 357 F.3d at 1129 (citing Hope v. Walker (In re Walker), 48 F.3d 1161, 1164 (11th Cir.
 1995)). Because this seems somewhat duplicative, other courts have used the
 definition set forth by the Supreme Court in Tinker v. Colwell, 193 U.S. 473 (1904), of a
 “wrongful act, done intentionally, without just cause or excuse.” 193 U.S. at 489; see
 also Bombadier Capital, Inc. v. Tinkler (In re Tinkler), 311 B.R. 869, 880 (Bankr. D.
 Colo. 2004) (citing Tinker v. Colwell, 193 U.S. 473 (1904)); America First Credit Union v.
 Gagle (In re Gagle), 230 B.R. 174, 181 (Bankr. D. Utah 1999). Since the § 523(a)(6)
 standards for “willful” already include a “wrongful act” that is “done intentionally,” these
 courts hold that the malice prong “is satisfied upon a showing the injury was inflicted
 without just cause or excuse.” In re Tinkler, 311 B.R. at 880.

        Other bankruptcy courts have determined that attorney fee awards and other
 sanctions awarded against a debtor for his or her conduct during prior litigation are
 nondischargeable under § 523(a)(6). E.g., Hughes v. Arnold, 393 B.R. 712, (E.D. Calif.
 2008); Erie Ins. Group v. Chaires (In re Chaires), 249 B.R. 101, 107 (Bankr. N.D. Tex.
 2000); Freimuth v. Kutchins (In re Kutchins), 2008 WL 5633634, at *5-6 (Bankr. M.D.
 Fla. Dec. 5, 2008) (citing cases). In many instances, the court that originally awarded
 the fees also made a finding that equates the sanctionable conduct to willful and
 malicious behavior. For example, in In re Chaires, a state court had found that the

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 debtor brought his state court action without substantial justification and had acted in
 bad faith resulting in a gross abuse of the judicial process, and ordered the debtor to
 pay the other party’s attorney’s fees. The bankruptcy court determined that the state
 court’s findings were sufficient to establish a § 523(a)(6) claim because they
 demonstrated that the debtor intended to harm the other party by forcing that party to
 “incur the costs of defending this unjustified civil action maintained in bad faith.” Id. at
 108.

        However, not all attorney’s fees and sanction awards automatically meet the
 § 523(a)(6) standard. Sometimes, the state court judgment will lack sufficient findings
 to establish willful and malicious conduct. In that case, a claimant must produce
 additional evidence at trial to establish the required elements. Sanctioned conduct that
 is shown to be merely reckless or the exercise of poor legal judgment will not suffice.
 Vehicle Removal Corp. v. Lopez (In re Lopez), 269 B.R. 607, 614 (Bankr N.D. Tex.
 2001) (concluding debtor’s filing of state court law suit was merely reckless); see also
 Hamrah v. Couloute (In re Couloute), 538 B.R. 184, (Bankr. D. Conn. 2015) (concluding
 monetary sanction imposed on debtor in state court litigation for failure to comply with
 discovery order was not willful or malicious).

         In this case, the state court awarded fees under Colo. Rev. Stat. § 13-17-102
 after determining that the Debtor’s common law wife claim lacked “substantial
 justification” because it was “substantially groundless.” April 4 Order, at 5. The statute
 defines the term “lacked substantial justification” to mean “substantially frivolous,
 substantially groundless, or substantially vexatious.” Id. § 13-17-102(4). The statute
 does not further define these terms. However, Colorado courts have determined that a
 claim is “substantially groundless” if “the allegations of the complaint, though sufficient
 to survive a motion to dismiss for failure to state a claim, are not supported by any
 credible evidence at trial.” Redmond v. Chains, Inc., 996 P.2d 759, 765 (Colo. App.
 2000). An action is not groundless merely because it is unsuccessful. The test
 “assumes that the proponent has a valid legal theory but can offer little or nothing in the
 way of evidence to support the claim.” Bilawsky v. Faseehudin, 916 P.2d 586, 590
 (Colo. App. 1996).

          The state court concluded that Debtor’s common law wife claim “was not
 supported by any credible evidence at trial.” April 4 Order at 4. The state court rejected
 the Debtor’s excuse that she was prevented from testifying at trial due to the state
 court’s exclusion her testimony under the Colorado’s Dead Man’s Statute, Colo. Rev.
 Stat. § 13-90-102. The state court held that, in making its decision, it could consider
 only the credible evidence that the Debtor actually presented at trial. The court went on
 to conclude that the Debtor’s “strategic decision to assume that the Court would agree
 with her analysis of the applicability of Colorado’s Dead Man’s Statute to this case
 cannot now be used to excuse her dearth of admissible credible evidence presented at
 trial.” Id. at 5.

         These findings are insufficient, by themselves, to establish willful and malicious
 behavior because there is no mention of the Debtor’s intent. However, other evidence
 of the timing and circumstances surrounding the Debtor’s common law wife claim give a

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 sufficient picture of that intent. There is obvious acrimony between the Debtor and the
 Plaintiffs. This acrimony appears to have existed at the time of Mr. Barr’s death and
 seemingly increased during the probate case. Plaintiffs testified that shortly after his
 death, they attempted to get access to Mr. Barr’s belongings but the Debtor refused to
 allow them in the apartment and instead put the youngest daughter’s belongings and a
 small selection of Mr. Barr’s clothing and belongings on the front porch. Both of Mr.
 Barr’s daughters credibly testified that the Debtor was hostile and very uncooperative
 concerning Mr. Barr’s property after his death, despite their multiple attempts to
 communicate with her. At one point, the Debtor sought a restraining order against the
 Plaintiffs, but a state court denied that request. The parties were also in conflict over
 the disposition of Mr. Barr’s remains. The Plaintiffs ultimately planned the funeral
 without the Debtor’s involvement.

        The Plaintiffs filed their application for appointment of a personal representative
 on February 14, 2014. From the very start of the probate case, the Plaintiffs, through a
 series of letters and emails between counsel, informally requested that the Debtor
 return Mr. Barr’s property to them. Ex. 18. These requests included descriptions of that
 property. Id. The Debtor, who hired a succession of three different attorneys during the
 probate case, refused to do so. After months of getting no cooperation from the Debtor,
 the personal representative was forced to file a formal motion seeking the return of Mr.
 Barr’s property. Ex. 16. In response, the Debtor asserted her common law wife claim,
 thereby further delaying the state court’s ruling on turnover of Mr. Barr’s property.

         About one month before asserting her common law wife claim, the Debtor rented
 a storage unit. Records kept by the storage facility show that she accessed this storage
 unit multiple occasions, sometimes for hours at a time. Ex. 29. Plaintiffs gained access
 to this storage unit only after filing this proceeding and discovered in it a significant
 amount Mr. Barr’s personal property—much of the same property that the Plaintiffs had
 been asking the Debtor to return since Mr. Barr’s death. The Debtor has given a variety
 of reasons for her refusal to return Mr. Barr’s property, including that she did not have
 possession of it, that the property was located in some “unknown storage unit” that Mr.
 Barr allegedly rented before his death, or that the property really belonged to her or her
 mother. She also testified that she had no idea the property was in the storage unit
 because her family moved it there without her knowledge and she somehow “missed”
 seeing it on the multiple occasions she accessed the storage unit. The Court did not
 find any of the Debtor’s explanations credible. The very fact that her explanations
 changed over time renders them implausible, especially given that she now admits that
 much of the property was in her storage unit the entire time. The Court concludes that
 the Debtor knowingly stored Mr. Barr’s property in her storage unit and knowingly
 refused to return it to the Plaintiffs.

         Of course, none of this was known to the Plaintiffs at the time, as they continued
 to fight with Debtor in the probate case. In early 2016, the state court held an
 evidentiary hearing on the Debtor’s common law wife claim. The Debtor’s evidence
 consisted of the testimony of four witnesses and a copy of an automobile insurance
 policy. At the conclusion of the Debtor’s case, the Plaintiffs moved for dismissal and the
 state court granted that request. In making its ruling, the state court focused on the

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 three factors that are key under Colorado law: the duration of the claim of marriage,
 cohabitation, and general repute. The court found the second factor unhelpful given the
 modern prevalence of cohabitation. On the other two factors, the state court found
 there to be a “dearth of credible evidence [or] convincing evidence.” Ex. 35, at 125:17-
 18. The court characterized the Debtor’s witnesses’ testimony as inconclusive and
 containing “inconsistencies,” and questioned the motives of at least two of the
 witnesses. The offered insurance policy listed the Debtor and Mr. Barr’s marital status
 as “married,” but the court found the document to be merely a conclusory statement that
 was, without further evidence as to its context and source, unpersuasive. The court
 also focused on Debtor’s failure to provide any of the evidence that is typically offered to
 prove a common law marriage, such as joint tax returns, joint bank accounts, joint credit
 accounts, joint debts, joint ownership of property, or correspondence between the
 couple or with third parties reflecting or referring to them as husband and wife.

         This was not a case of the Debtor merely losing in state court. Rather the Debtor
 refused for nearly eighteen months to turn over Mr. Barr’s property to his probate estate
 despite having it stored in her storage unit. Only when the estate’s personal
 representative filed a motion to force turnover did the Debtor assert a common law
 marriage claim and a request to remove the personal representative. At trial, the Debtor
 wholly failed to present credible evidence to support the existence of a common law
 marriage. While it is true that the state court precluded the Debtor from testifying under
 Colorado’s Dead Man’s Statute, that fact did not alter the state court’s conclusion in
 awarding attorney’s fees. The Debtor made a tactical decision to argue against
 established precedent regarding application of the Dead Man’s Statute and lost. She
 knew from the beginning the risk of this tactic because the parties had been debating
 the issue since the beginning of the probate case and the trial management order listed
 it as an issue to be determined at trial. She nevertheless took the gamble and lost. But
 even if she had won, this Court is not convinced that it would have changed the
 outcome. Her attorney made an offer of proof to the state court regarding the Debtor’s
 excluded testimony and indicated that she would have testified that she and Mr. Barr
 lived together, shared expenses, shared their mail with one another, were close to each
 other’s families, and that she helped with the care of Mr. Barr’s youngest daughter. Ex
 35, at 17:1-18:22. At best, such testimony would have established cohabitation, a factor
 that the state court disregarded as unhelpful and unconvincing.

        Based on all of these circumstances, the Court concludes that the Debtor
 knowingly asserted a groundless common law wife claim in a last-ditch effort to forestall
 the Plaintiffs from obtaining Mr. Barr’s property. She either desired or was substantially
 certain that filing the common law wife action would cause the Plaintiffs to engage in
 further needless litigation in attempt to secure Mr. Barr’s property. By filing a baseless
 claim, the Debtor was at least substantially certain that the Plaintiffs would incur
 attorney’s fees during the litigation. The Debtor had no credible evidence to support her
 common law wife claim and brining it was without just cause or excuse. Thus, the Court
 concludes that the Debtor’s conduct in bringing her groundless common law wife claim
 was both willful and malicious. As such, the $55,403 judgment is nondischargeable
 under § 523(a)(6).


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 III. MR. BARR’S PERSONAL PROPERTY

        A.     Nondischargeability Under § 523(a)

         The Plaintiffs’ final claim relates to the personal property that Mr. Barr owned
 prior to his death that the Plaintiffs allege the Debtor improperly kept for herself despite
 multiple requests that she return that property. Plaintiffs do not have a state court
 judgment against the Debtor for the value of the personal property. Instead, Plaintiffs
 ask this Court to enter a judgment for its value and declare it a nondischargable debt
 under § 523(a)(2)(A), (a)(4), or (a)(6).

         The Tenth Circuit has held that a dischargeability claim requires a two-step
 analysis: first, the bankruptcy court must determine the validity of the debt; and second,
 the court must determine the dischargeability of that debt under § 523. Resolution Tr.
 Corp. v. McKendry (In re McKendry), 40 F.3d 331, 336 (10th Cir.1994); Hatfield v.
 Thompson (In re Thompson), 555 B.R. 1, 8 (10th Cir. BAP 2013). Whether a debt
 exists is determined by applicable non-bankruptcy law, usually state law. In re
 Thompson, 555 B.R. at 8. In the case of § 523(a)(2) claims, the underlying claim is
 typically a state-law fraud claim, although that is not a requirement. Id. at 9. In this
 case, the Plaintiffs contend that the Debtor retained Mr. Barr’s property through fraud as
 a basis for their § 523(a)(2) claim. On their § 523(a)(6) claim, Plaintiffs do not
 specifically identify an underlying state law claim but nevertheless argue that the
 Debtor’s retention of Mr. Barr’s property amounts to willful and malicious behavior. For
 their § 523(a)(4) claim, Plaintiffs contend the Debtor is liable for larceny of Mr. Barr’s
 property. The Court concludes the Plaintiffs’ nondischargeability claim is actionable
 under § 523(a)(6), but not § 523(a)(2) or (a)(4).

          The elements of a claim of larceny under § 523(a)(4) are typically defined by
 federal common law rather than state law. Under the federal common law definition, the
 elements of larceny are: (1) the capture (2) and taking away (3) of personal property (4)
 of another: (5) of some value; (6) with animus furandi or intention to steal. Bryant v.
 Lynch (In re Lynch), 315 B.R. 173, 180-81 (Bankr. D. Colo. 2004). Inherent in these
 elements is the requirement that a plaintiff establish ownership of the property taken.
 Marbella, LLC v. Cuenant (In re Cuenant), 339 B.R. 262, 277 (Bankr. M.D. Fla. 2006).
 Establishment of ownership is complicated in this case by the fact that Mr. Barr’s
 probate case was still pending when the Debtor filed her bankruptcy case. As stated
 above, the state court appointed a personal representative to assist with administration
 of the probate estate. Under Colorado law, an appointed personal representative takes
 possession and control of the decedent’s property. Colo. Rev. Stat. § 15-12-709. Until
 the personal representative’s appointment is terminated, she “has the same power over
 the title to property of the estate that an absolute owner would have, in trust however,
 for the benefit of the creditors and others interested in the estate.” Id. § 15-12-711. The
 personal representative is charged with fully administering the probate estate, which
 includes first paying any allowed claims, expenses of administration and taxes, and then
 distributing the estate to the decedent’s heirs. See id. § 15-12-1003.



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        In this case, the personal representative was in the midst of administering Mr.
 Barr’s probate estate when the Debtor filed bankruptcy. The representative had filed a
 motion seeking return of Mr. Barr’s personal property from the Debtor, but the state
 court had not ruled on that motion.2 Plaintiffs’ post-trial brief points out that they
 obtained an order from this Court granting them relief from stay to proceed with the
 probate case, but they fail to disclose whether any further proceedings actually
 occurred. Thus, the Court must assume that administration is not complete and that the
 personal representative still has title to Mr. Barr’s property rather than the Plaintiffs.
 While Mr. Barr’s daughters are his only heirs, they will not take ownership of Mr. Barr’s
 property until the personal representative fully administers the probate estate. Because
 the Plaintiffs have not established that they personally owned the property at issue at
 the time the Debtor allegedly wrongfully withheld it, their § 523(a)(4) claim based on
 larceny must fail.

         For similar reasons, the facts do not fit easily within a fraud claim under
 § 523(a)(2). That subsection makes nondischargeable a debt “for money, property,
 services, or an extension, renewal, or refinancing of credit, to the extent obtained by—
 false pretenses, a false representation, or actual fraud.” 11 U.S.C. § 523(a)(2)(A).
 Here, the Plaintiffs’ complaint alleges that the Debtor owes them a debt for Mr. Barr’s
 property that she allegedly kept from them through fraud, false pretenses or false
 representations. However, as discussed above, at the time of Debtor’s alleged
 fraudulent conduct, Mr. Barr’s property technically belonged to his probate estate rather
 than to the Debtors. In other words, to the extent the Debtor “obtained” Mr. Barr’s
 “property” through fraud she “obtained” it from the probate estate. Any debt she owes
 for fraudulently withholding that property would be owed to the probate estate and not to
 the Plaintiffs.

         The Plaintiffs’ arguments concerning Mr. Barr’s property are more accurately
 described as a claim for intentional or malicious interference with inheritance. The
 Restatement (Second) of Torts describes this tort as “[o]ne who by fraud, duress or
 other tortious means intentionally prevents another from receiving from a third person
 an inheritance or gift that he would otherwise have received is subject to liability to the
 other for loss of the inheritance or gift.” Restatement (Second) of Torts § 774B. This
 Court could not find a Colorado case that specifically recognizes this tort. However,
 federal cases arising in Colorado have done so. See Lindberg v. United States, 164
 F.3d 1312, 1319 & n.4 (10th Cir. 1999); Peffer v. Bennett, 523 F.2d 1323, 1326 (10th
 Cir. 1975); McGregor v. McGregor, 101 F. Supp. 848, 849-50 (D. Colo. 1951), aff’d, 201
 F.2d 528 (10th Cir. 1953). These courts describe the elements of intentional
 interference with inheritance as: (1) that defendant intentionally interfered with the giving
 or leaving of property to the plaintiff; (2) that defendant used unlawful means, such as
 fraud, duress or undue influence, to accomplish the interference; and (3) proof of
 damages. Peffer, 523 F.2d at 1325. The intent element required for this tort is that the
 defendant acted “purposely and knowingly.” Id.



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     The order the state court entered postpetition violated the automatic stay and is therefore void.

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          These elements dovetail with the nondischargeability elements under § 523(a)(6)
 for willful and malicious injury. As detailed above, to prove a willful injury under
 § 523(a)(6), there must be evidence that the debtor either desired to cause the
 consequences of her act or believed that the consequences are substantially certain to
 result from it. To be a malicious injury, the debtor either intend the resulting injury or
 intentionally take action that is substantially certain to cause the injury, with no just
 cause or excuse.

         As described more fully above, the Plaintiffs have established that the Debtor
 knowingly asserted a groundless common law wife claim in an effort to forestall the
 Plaintiffs from obtaining their inheritance from Mr. Barr. Prior to filing her common law
 wife claim, the Debtor knowingly stored a substantial portion of Mr. Barr’s personal
 property in her storage unit so as to avoid returning it to the probate estate or to
 Plaintiffs. The Debtor gave conflicting and inaccurate stories about the property during
 the probate case and the bankruptcy case, sometimes claiming she did not have
 possession of it, other times saying the property was located elsewhere, or that the
 property really belonged to her. These circumstances adequately establish that the
 Debtor knew and intended her actions to deprive Mr. Barr’s daughters from receiving
 Mr. Barr’s property. She used unlawful means, including assertion of a groundless
 common law marriage claim and making misrepresentations about the location of the
 property to accomplish her interference with the Plaintiffs’ inheritance. The Debtor
 desired the consequences of these actions, and intended or was substantially certain
 that her actions would cause injury to the Plaintiffs by denying them their inheritance,
 with no just cause or excuse since the state court found she had no credible admissible
 evidence to establish her common law wife claim.

        B.     Damages

               1.     Items Withheld From Inheritance

         This leaves the final element of an interference with inheritance claim—the
 existence and amount of damages. Typically, the measure of damages for intentional
 interference with inheritance is the amount of pecuniary loss suffered by the one
 deprived on the inheritance, plus consequential losses and any damages for emotional
 distress. See Restatement (Second) of Torts § 774B cmt. e, § 774A. In this case, the
 Plaintiffs have only sought the value of Mr. Barr’s property that the Debtor allegedly kept
 from them. To prove this amount, the Plaintiffs offered an inventory listing 116 items
 and their estimated value (the “Inventory”). Ex. 3. The total value of the property on the
 Inventory is $34,465. The Debtor disputed the accuracy of the list. She argued there is
 no evidence that Mr. Barr owned every item on this list when he died and that some of
 the property belonged to her. She also argued that the values are exaggerated.

        Melanie Barr, Mr. Barr’s ex-wife, testified that she created the Inventory, with
 assistance from Moira Barr. Melanie included items that she had purchased for Mr.
 Barr during their marriage, such a Tag Hauer watch, as well as items that Mr. Barr was
 awarded in their divorce proceeding. The Court believes Melanie Barr made an honest
 attempt to create a complete list. However, Melanie Barr and Mr. Barr had been

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 divorced for many years prior to his death, and she lacks any firsthand knowledge of
 what he actually owned at his death. Even though she gave him some of the items
 during their marriage and they were still his assets at the time of their divorce, Mr. Barr
 could have easily discarded, lost, sold, or given away those items in the intervening
 years.

        Plaintiffs also prepared a second inventory that listed all of the items they found
 in the Debtor’s storage unit. Such a listing would have been helpful to establish Mr.
 Barr’s ownership of those items. Unfortunately, while Plaintiffs included this “Inventory
 of Public Storage Unite 630 Sheridan, Denver, CO 80202” on their exhibit list (exhibit
 28), they failed to offer it as an exhibit at trial. As such, the Court could not consider it.

         Mr. Barr’s youngest daughter, Moira, did have firsthand knowledge of her father’s
 personal property, to the extent it was visible in his apartment, because she lived there
 part-time. She credibly testified that she was in the apartment the day before his death
 and saw the same personal property that ended up in Debtor’s storage unit stored in a
 spare room in the apartment. On the witness stand, Moira reviewed pictures of items
 found in the storage unit as well as pictures of his property in his apartment before his
 death, and identified those items that belonged to her father. The Court has listed these
 items on the attached Exhibit A. Moira also testified that she saw her father’s bible in
 the apartment shortly before his death. Both daughters testified that Mr. Barr wore his
 wrist watch every day. The Court will also presume that Mr. Barr stored his clothing in
 the apartment. These items are also listed on Exhibit A. The Court finds that the
 Plaintiffs have established that the Debtor wrongfully withheld the items listed on Exhibit
 A from Mr. Barr’s probate estate, thereby causing damage to the Plaintiffs. To the
 extent the Debtor testified that some of these items actually belonged to her or her
 mother, the Court did not find that testimony to be credible.

        The Inventory includes many other items that were not located in the storage
 unit, nor identified in pictures. For these items, the Court received little testimony or
 other corroborating evidence of Mr. Barr’s ownership. Moira testified only generally that
 “most” of the items on the Inventory were also in the apartment the weekend before Mr.
 Barr’s death. Without more, the Court cannot determine that Mr. Barr owned all these
 items on the date of his death. Thus, the Court has omitted many Inventory items from
 Exhibit A.

         Two possible exceptions are the two Chevy Suburbans listed on the Inventory.
 Plaintiffs admitted into evidence documents showing that a 1989 Chevy Suburban and a
 1991 Chevy Suburban had been titled solely in Mr. Barr’s name until December 21,
 2013, when Mr. Barr sold them to the Debtor. Ex. 6. The Debtor filed the title
 paperwork showing these transfers with the Department of Motor Vehicles four days
 after Mr. Barr’s death. The Plaintiffs question this timing, and point out that Mr. Barr had
 apparently listed both vehicles as his sole property on a financial statement he prepared
 near the time of his death. The Plaintiffs did not offer a copy of this financial statement,
 but the Debtor admitted she had seen the statement and that Mr. Barr had listed the
 vehicles as his. She nevertheless claims Mr. Barr transferred the vehicles to her
 because they wanted to sell them and it was easier for her to handle the sale given Mr.

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 Barr’s long work hours. On both vehicles’ titles, in the “transfer of ownership” section,
 Mr. Barr’s signature is contained on the line marked as “seller” next to the Debtor’s
 name as “buyer.” No evidence was offered that this signature was suspicious or
 otherwise forged. Moreover, the Court does not find the timing to be suspicious. Given
 his suicide a few days after the holidays, he was likely trying to wrap up some of his
 affairs. Thus, the Court concludes that Mr. Barr sold the vehicles to the Debtor prior to
 his death. Because Mr. Barr did not own the vehicles at the time of his death, the
 Debtor’s retention of them did not cause the Plaintiffs any damage.

               2.       Value of Items

          The value of the items that the Debtor withheld from Plaintiffs’ inheritance is more
 difficult to determine. Melanie Barr listed values for each piece of property included on
 the Inventory, but the Court finds these values to be highly inflated, even though it did
 not receive any contrary valuation testimony. Nor did the Court receive any testimony
 as to how Melanie Barr arrived at those values. The Plaintiffs concede that none of the
 items were new or had substantial value. Rather, Mr. Barr’s daughters wanted the
 items because of their sentimental value, as a reminder of their late father.

        There are many ways to value personal property. In many situations involving
 the loss of personal property, claimants will offer evidence of market value. In this case,
 the property consists mostly of well-used tools, landscape equipment, camping gear,
 personal effects, and family mementos. There is no ready “market” for these items.
 Where market value is unavailable, courts attempt to determine the actual worth of the
 items to the owner, sometimes called the “intrinsic value” or the “value to the owner.”
 See Johnson v. Bd. of Cty. Comm’rs, 336 P.2d 300, 302 (Colo. 1959); King v. United
 States, 292 F. Supp. 767, 775-76 (D. Colo. 1968); Restatement (Second) of Torts § 911
 cmt. e. Courts have wide latitude in determining this value. As described by the
 Colorado Supreme Court:

        In establishing the actual or intrinsic value of property having no market
        value, wide latitude in the evidence is permissible, and resort may be had
        to any facts which fairly tend to show such actual value. Thus, in
        determining the actual or intrinsic value of such property, or its value to the
        owner, it has been held proper to admit evidence showing the original cost,
        the replacement cost, the age of the property, its use and utility, and its
        condition.

 Johnson, 336 P.2d at 302.

        When it comes to keepsakes and used personal property, a claimant is not
 necessarily limited to the second-hand or garage-sale value, as that value would not
 necessarily account for the fact that the goods may have unique value to the claimant.
 See Restatement (Second) of Torts § 911 cmt. e (“Second-hand clothing and furniture
 have an exchange [or market] value, but frequently the value is far less than its use
 value to the owner. In these cases it would be unjust to limit the damages for destroying
 or harming the articles to the exchange value.”). However, a damage award cannot be

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 based on “sentimental value” to the injured party. Id.; Webster v. Boone, 992 P.2d
 1183, 1186 (Colo. App. 1999) (“Although there are varying standards for measuring
 damages for the loss of photographs and similar items of personal property which either
 have no market value or whose value to the owner is greater than their market value,
 we agree with those decisions that have declined to allow recovery for the sentimental
 or emotional value of such items.”).

        In addition, an award of damages cannot be based upon mere speculation. King,
 292 F. Supp. at 775. The Restatement of Torts instructs that a claimant must prove
 damages “with as much certainty as the nature of the tort and the circumstances
 permit.” Restatement (Second) of Torts § 912. While definiteness as to the amount of
 damages is desirable, it is even more desirable that, “an injured person not be deprived
 of substantial compensation merely because he cannot prove with complete certainty
 the extent of harm he has suffered.” Id. cmt. a. “When the value to the user is the
 measure of recovery, especially when the subject matter cannot be replaced, the
 measure of recovery is left very largely to the discretion of the trier of fact.” Id. at cmt. c;
 see also John Deere Co. v. Gerlach (In re Gerlach), 897 F.2d 1048, 1051 (10th Cir.
 1990) (citing Restatement (Second) of Torts § 912 and concluding bankruptcy court
 should declare a debt nondischargeable “in an amount which it can reasonably
 estimate.”).

         In this case, it appears that the Inventory lists either the original cost or the
 replacement value of the goods, but even those values are vastly inflated. For instance,
 a used hatchet is listed with a value of $70, and a used hammer is valued at $100.
 Such items can be purchased at a local hardware store at a much lower cost. In any
 event, pure replacement value is not the proper measure of the damages because the
 Plaintiffs are not seeking to replace Mr. Barr’s property with new items. The original
 cost is also not appropriate because that value does not account for the fact that the
 goods are obviously older and have been well-used. The photographs admitted as
 evidence plainly demonstrated to the Court that all of the items have significant wear
 and tear. As such, for those items on Exhibit A for which the Plaintiffs’ provided a value
 on the Inventory, the Court has discounted that Inventory value by 75%.

         Some of the items found in the storage unit were not listed on the Inventory and
 not specifically valued by the Plaintiffs. With these items, the Court has exercised its
 discretion to assign a value. The Plaintiffs provided testimony indicating that some of
 the items, such as Mr. Barr’s bible, his personal papers, his favorite childhood book, and
 a letter to the tooth fairy are mementos of Mr. Barr that are irreplaceable. While the
 Court cannot factor the sentimental value of any items into its calculation, these
 momentos do have an “intrinsic value” to the Plaintiffs that exceeds what would
 otherwise be their garage sale value. Other items, such as a half-full bucket of ice melt
 or a used air mattress, are common items that do not have any demonstrable intrinsic
 value to Plaintiffs and thus have been given a garage sale value. The resulting total
 value of all items on Exhibit A is $3,376.50. This amount is a nondischargeable debt
 pursuant to 11 U.S.C. § 523(a)(6).



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         The Court notes that the Debtor, in her closing statement, indicated a willingness
 to turnover Mr. Barr’s property to the Plaintiffs. Technically, the Debtor would be turning
 over any such property to Mr. Barr’s probate estate. Assuming the Debtor does so, Mr.
 Barr’s daughters will likely eventually inherit the items. Recovery of the items
 themselves and the value of those items as damages would amount to a double
 recovery, a result prohibited by Colorado law. See Lexton-Ancira Real Estate Fund,
 1972 v. Heller, 826 P.2d 819, 823 (Colo. 1992) (“Generally, a plaintiff may not receive a
 double recovery for the same wrong.”). Thus, to the extent that Debtors eventually
 inherit any of the items listed on Exhibit A from Mr. Barr’s probate estate, the amount of
 nondischargeable debt must be reduced by the value of those recovered items.3

 IV. CONCLUSION

        For the reasons stated above, the Court concludes that Plaintiffs demonstrated
 all elements to show that the Debtor owes them a debt for $55,403.45 and that this debt
 is nondischargeable under § 523(a)(6). The Plaintiffs have further demonstrated that
 the Debtor owes them a debt for $3,376.50 and that this debt is also nondischargeable
 under § 523(a)(6). Accordingly, the Court ORDERS that $58,779.95 plus applicable
 post-judgment interest, is nondischargeable in Debtor’s case pursuant to § 523(a)(6). If
 and when the Plaintiffs inherit any items listed on Exhibit A, the nondischargeable debt
 shall be reduced by the listed value of that item.

         Dated this 23rd day of July, 2018.
                                                            BY THE COURT:



                                                            Elizabeth E. Brown, Bankruptcy Judge




 3
   The Court’s listing of property on Exhibit A is in no way meant to preclude or limit the probate court or
 the personal representative of Mr. Barr’s estate from establishing or determining that other property
 belongs to Mr. Barr’s probate estate and/or his heirs.

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Exhibit A
                                                          Plaintiffs'
                                                                        Assigned
                                                          Inventory
                                                                         Value
                              Item                          Value
business, financial & personal records                          $0.00      $250.00
landscaping equipment & tools                               $1,800.00      $450.00
watch - Tag Hauer                                           $1,800.00      $450.00
clothes                                                       $500.00      $125.00
cell phone                                                    $250.00       $62.50
bible                                                          $50.00       $50.00
Mr. Barr's childhood "Ten Little Indians" book                    N/A      $300.00
Ralston Valley yearbook (Mr. Barr's place of employment)          N/A       $10.00
tooth fairy letter by Moira Barr                                  N/A      $150.00
Marines mouse pad                                                 N/A       $25.00
beer can collection                                         $2,500.00      $625.00
Bowie knife                                                 $1,500.00      $375.00
ammo boxes (including box with "Marines" sticker)             $400.00      $100.00
ammo                                                          $400.00      $100.00
sleeping bag                                                  $150.00       $37.50
air mattress                                                      N/A       $10.00
coolers                                                       $150.00       $37.50
fishing tackle box                                            $250.00       $62.50
camping chair                                                 $150.00       $37.50
"monkey butt" cream                                               N/A        $1.00
shamwows                                                          N/A        $1.00
plate from Suburban                                               N/A        $5.00
ACE ice melter                                                    N/A       $10.00
keys with metal plate inscribed JB                                N/A       $10.00
bbq grill                                                     $300.00       $75.00
grill set                                                         N/A        $5.00
soap, shaving cream, etc.                                         N/A        $1.00
tin boxes, leather suede & protector powder                       N/A        $1.00
plastic jar of change                                             N/A       $10.00
                                                    TOTAL $10,200.00     $3,376.50
